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FILEDBYNME- pc.

UNITED STATES DISTRICT COURT APR 16 2020

SOUTHERN DISTRICT OF FLORIDA ANGELA E. NOBLE
CLEAK U.S. DIST, CT.
S.D. OF FLA. -W.PS.

 

 

 

UNITED STATES OF AMERICA, ex rel.
CLJ, LLC,
FILED UNDER SEAL
Plaintiff, RELATOR’S COMPLAINT PURSUANT
TO THE FEDERAL FALSE CLAIMS ACT,
Vv. 31 U.S.C. §§ 3729 ET SEQ.
JACK HALICKMAN, M.D. DO NOT PLACE IN PRESS BOX OR
ENTER ON PACER SYSTEM
Defendant.

 

 

RELATOR’S COMPLAINT PURSUANT TO THE
FEDERAL FALSE CLAIMS ACT, 31 U.S.C. §§ 3729 ET SEQ.

CLJ, LLC (“Relator”), on behalf of the United States, brings this action for violations
of the Federal False Claims Act, 31 U.S.C. §§ 3729 et seq. (“FCA”), to recover all damages,
civil penalties and all other recoveries provided for under the FCA.

1. THE PARTIES

1. Defendant Jack Halickman, M.D. (“Dr. Halickman”) is an individual residing
in Palm Beach County, Florida. Dr. Halickman is the previous owner of Family Practice &
Internal Medicine of the Palm Beaches, LLC (‘“FPIM”), an internal and family medical
practice located in Palm Beach Gardens, Florida.

2. The United States is a plaintiff to this action. The United States brings this
action on behalf of the Department of Health and Human Services (“HHS”) and the Center
for Medicare and Medicaid (“CMS”), which administer the Medicare and Medicaid

Programs.
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3. Relator CLJ, LLC (“Relator”) is a Florida limited liability company with its
principal place of business in Palm Beach County, Florida. Relator was induced to purchase
Dr. Halickman’s ownership of FPIM through Dr. Halickman’s misrepresentation of
fraudulent billing as legitimate revenue. FPIM’s healthcare providers include Dr. Halickman,
physician assistant(s), advanced registered nurse practitioner(s), and certain part-time
contracted physicians.

4. Relator has standing to bring this action pursuant to 31 U.S.C. § 3730(b)(1).
Relator brings this action on behalf of the United States for violations of the FCA.

5. Relator’s complaint is not based on any other prior public disclosure of the
allegations or transactions discussed herein in a criminal, or administrative hearing, lawsuit
or investigation or in a Government Accounting Office or Auditor General’s report, hearing,
audit, or investigation, or from the news media, or any civil lawsuit in which the Government
or its agent is a party.

6. Relator is an original source of the information in this complaint.

Il. SUMMARY OF THE CASE

7. Dr. Halickman defrauded Relator into purchasing FPIM by misrepresenting
fraudulent claims submitted to Medicare (and commercial insurers) as legitimate revenue.

8. Subsequent to the purchase of FPIM, Relator discovered that throughout the
relevant period, Dr. Halickman was engaged in a widespread practice of improper and
fraudulent coding and billing for patient office visits.

9. Relator’s claims against Dr. Halickman are based upon false or fraudulent

claims that Dr. Halickman presented or caused to be presented to Medicare for services that
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were not provided, or that were provided by a physician assistant or nurse practitioner but
billed as though provided by Dr. Halickman.
Hil. JURISDICTION AND VENUE

10. Jurisdiction is founded upon the Federal False Claims Act (“FCA”), 31 U.S.C.
§ 3729 et seq., specifically 31 U.S.C. §§ 3732(a) and (b), and 28 U.S.C. §§ 1331, 1345.

11. This Court has jurisdiction over the subject matter of this action pursuant to
28 U.S.C. §§ 1331, 1345, and 1367(a).

12. | This Court may exercise personal jurisdiction over Dr. Halickman pursuant to
31 U.S.C. § 3732(a) because the acts committed by Dr. Halickman in violation of the FCA
occurred in the Southern District of Florida, and because Dr. Halickman transacted business
in the Southern District of Florida.

13. Venue in the Southern District of Florida is appropriate under 31 U.S.C. §
3732(a) and 28 U.S.C. §§ 1391(b) and (c) because a substantial part of the events giving rise
to the claims alleged in this action occurred in the Southern District of Florida.

IV. THE APPLICABLE LAW

A. The False Claims Act

14. | The FCA provides for the award of treble damages and civil penalties for,
inter alia, knowingly submitting, or causing the submission of, false or fraudulent claims for
payment to the United States government. 31 U.S.C. § 3729(a)(1).

15. | The FCA provides, in pertinent part, that a person who:

(a)(1)(A) knowingly presents, or causes to be presented, a false or fraudulent
claim for payment or approval;

(a)(1)(B) knowingly makes, uses, or causes to be made or used, a false record
or statement material to a false or fraudulent claim; . . .
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(a)(1)(G) knowingly makes, uses, or causes to be made or used, a false record
or statement material to an obligation to pay or transmit money or property to
the Government, or knowingly conceals or knowingly and improperly avoids
or decreases an obligation to pay or transmit money or property to the
Government; ...

is liable to the United States Government for a civil penalty of not less than
$5,000 and not more than $10,000, as adjusted by the Federal Civil Penalties
Inflation Adjustment Act of 1990 (28 U.S.C. § 2461 note; Public Law 104-
410), plus 3 times the amount of damages which the Government sustains . ..

31 U.S.C. § 3729.
16. For purposes of the FCA,
the terms “knowing” and “knowingly (A) mean that a person, with respect to
information (i) has actual knowledge of the information; (ii) acts in deliberate
ignorance of the truth or falsity of the information; or (iii) acts in reckless

disregard of the truth or falsity of the information; and (B) require no proof of
specific intent to defraud.

31 U.S.C. § 3729(b)(1).

B. Medicare

17. The Medicare program, which Congress enacted in 1965 as Title XVIII of the
Social Security Act, pays for the costs of healthcare services for certain individuals. The
Department of Health and Human Services (“HHS”) is responsible for the administration and
supervision of the Medicare program, which it does through the Centers for Medicare and
Medicaid Services (“CMS”), an agency of HHS.

18. | Medicare providers are required to enter into provider agreements with the
federal government. Under the terms of their provider agreements, physicians certify that
they will comply with all laws and regulations concerning proper practices for Medicare
providers. Compliance with the terms of the provider agreement is a condition precedent to

receipt of any payment for all Medicare claims.
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19. The Social Security Act imposes criminal penalties for whoever knowingly
and willfully makes or causes to be made any false statement or representation of a material
fact in any application for any benefit or payment under a federal healthcare program such as
Medicare, and for whoever presents or causes to be presented a claim for a physician’s
service for which payment may be made under a federal health care program and knows that
the individual who furnished the service was not a licensed physician. 42 U.S.C. § 1320a-7b.

C. Defendant’s Fraud Scheme

20. Beginning in or around May 2017, Dr. Halickman expressed an interest in
selling the majority of his membership interest in FPIM to Relator and began discussions
with Relator concerning a potential purchase and sale.

21. Prior to the execution of any agreements, Dr. Halickman met with and
presented Relator with business records concerning FPIM’s financial status, including
FPIM’s income statement that evidenced $1,984,596.26 of gross annual revenue for 2016
(“2016 Income Statement”). A copy of FPIM’s 2016 Income Statement is attached hereto as
Exhibit A.

22. On or around May 22, 2017, at a meeting at Dr. Halickman’s office with
Relator representative Richard Lucibella, Dr. Halickman represented that FPIM generated
$600,000 in annual net revenue, which was consistent with and supported by the gross
revenue figure in the 2016 Income Statement. Prior to Relator’s acquisition, Dr. Halickman
never told Mr. Lucibella that FPIM’s revenue was based on a fraudulent billing scheme.

23. Mr. Lucibella thereafter again met with Dr. Halickman concerning Relator’s

possible acquisition, this time at Dr. Halickman’s condominium in Palm Beach, Florida,
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where Dr. Halickman again did not tell Mr. Lucibella that FPIM’s revenue was based on a
fraudulent billing scheme.

24. On or about September 1, 2017, in reliance on Dr. Halickman’s false revenue
representations and on Dr. Halickman’s omission that FPIM was engaged in a fraudulent
billing scheme that inflated revenue, Relator, as purchaser, and Dr. Halickman, as seller,
entered into a “Membership Interest Purchase Agreement” (the “Purchase Agreement”).

25. Shortly after executing the Purchase Agreement, Relator learned that FPIM,
through Dr. Halickman, was engaged in a widespread practice of improper and fraudulent
coding and billing for patient office visits.

26. On October 11, 2017, Relator’s representative conducted a review of FPIM’s
billing records with FPIM’s practice manager Janet Eick at FPIM’s office.

27. According to FPIM’s practice manager Ms. Eick, Dr. Halickman directed
FPIM’s fraudulent billing practices.

28.  Relator’s representative’s review of FPIM’s billing records revealed that
FPIM’s actual gross revenue for 2016 was $930,661.46, far short of the more than $1.9
Million in gross revenue stated in the 2016 Income Statement. A copy of FPIM’s
eClinicalworks Financial Analysis for 2016 evidencing FPIM’s actual 2016 gross revenue is
attached hereto as Exhibit B.

29. During the review, Relator’s representative also learned that Dr. Halickman
often reported an amount of time for total patient encounters in a single day that exceeded the
amount of hours Dr. Halickman worked in the office that day. Dr. Halickman was generally
billing for 35 to 40 patient encounters per day. Ms. Eick advised Relator’s representative

that Dr. Halickman directed that his patient visits be coded this way.
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30. Prior to selling his interest in FPIM to Relator, Dr. Halickman represented that
he is collecting benefits under a disability policy that limits him to a 20 hour work week. If
Dr. Halickman worked all of the hours that he reported to CMS, he would have regularly
exceeded a 20 hour work week.

31. Relator thereafter conducted a further review of FPIM’s billing records and
discovered that FPIM, both before and after execution of the Purchase Agreement, billed and
coded patient encounters with FPIM’s physician assistants or nurse practitioners under Dr.
Halickman’s provider transaction access number (“PTAN”) issued through Centers for
Medicare and Medicaid Services, while the physician assistants and nurse practitioners each
did not have their own PTANSs.

32. For instance, FPIM billed Medicare under Dr. Halickman’s PTAN for patient
encounters with Catherine Dubois, a nurse practitioner employed by FPIM, before Ms.
Dubois received her PTAN in June 2018.

33. In 2016, 2017, and 2018, FPIM billed $259,816.92, $337,433.28, and
$182,332.47 to Medicare, respectively, under Dr. Halickman’s PTAN for patient encounters
with Ms. Dubois. Copies of FPIM’s 2016, 2017, and 2018 Financial Analysis at CPT Level,
showing amounts billed to Medicare by FPIM under Dr. Halickman’s PTAN for patient
encounters with Ms. Dubois, are attached hereto as Composite Exhibit C.

34.  FPIM also billed Medicare under Dr. Halickman’s PTAN for patient
encounters with Lisa Malloy, a physician assistant employed by FPIM, before Ms. Malloy’s
PTAN became effective in November 2017. In 2016 and 2017, FPIM billed Medicare under
Dr. Halickman’s PTAN $252,599.93 and $327,835.21, respectively, for patient encounters

with Ms. Malloy. See Composite Exhibit C.
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35. In addition, FPIM billed Medicare under Dr. Halickman’s PTAN for patient
encounters with Terri Barr, another nurse practitioner employed by FPIM. In 2017 and 2018,
FPIM billed Medicare under Dr. Halickman’s PTAN $252,599.93 and $327,835.21,
respectively, for patient encounters with Ms. Barr. See Composite Exhibit C.

36. In total, between 2016 and 2018, FPIM fraudulently submitted more than $1.5
million in claims to Medicare under Dr. Halickman’s PTAN for services furnished by
FPIM’s nurse practitioners and physician assistant. See Composite Exhibit C.

37. Even after Ms. Dubois received her PTAN, Dr. Halickman continued to bill
Medicare under his own PTAN for patient encounters with Ms. Dubois. As an example, on
August 13, 2018, Ms. Dubois saw and treated patients RC, IL, NF, RS, LM, and SF
(collectively the “August 13 Patients”).' A redacted version of FPIM’s eClinicalworks
calendar showing Dr. Halickman’s and Ms. Dubois’ patient schedules for August 13, 2018,
and copies of redacted patient charts signed by Ms. Dubois, evidencing Ms. Dubois’ care and
treatment of the August 13 Patients, are attached as Composite Exhibit D.

38. Despite having actually seen Ms. Dubois, all of the August 13 Patients were

coded and billed to Medicare under Dr. Halickman’s PTAN in the following amounts:

Patient Name Amount Billed to
OO Medicare

RC $195.02

IL $175.02

NF $175.02

RS $195.02

 

' For confidentiality, patient initials are used instead of full names.
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LM $195.02

SF $120

Redacted copies of FPIM’s claim summaries and payment documentation, attached as
Composite Exhibit E, list Dr. Halickman as the billing and rendering practitioner for the
August 13 Patients, and show Medicare reimbursements to FPIM at Dr. Halickman’s billing
rate.

39. Dr. Halickman’s billing rate is significantly higher than the rates charged by
the physician assistant(s) and nurse practitioner(s) employed by FPIM. Consequently, by
billing patient encounters under Dr. Halickman’s PTAN instead of the PTANs associated
with the physician assistant or nurse practitioner who rendered services or treatment, FPIM
requested a higher reimbursement than what FPIM was entitled for services that Dr.
Halickman himself did not render. —

40. | FPIM submitted to Medicare invoices for services Dr. Halickman supposedly
rendered on days when Dr. Halickman was not even in the office. Dr. Halickman was
engaging in such billing practices at the time that he began negotiations with Relator and
such practices continued through at least 2018, despite Relator’s repeated verbal and written
direction to cease such practices.

41. AS just one example, Dr. Halickman was not in the office on October 3, 2016
and did not treat any patients on that date. FPIM’s eClinicalworks calendar showing Dr.

Halickman’s absence on October 3, 2016 is attached as Exhibit F.
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42. Nevertheless, FPIM submitted claims to Medicare under Dr. Halickman’s
PTAN for services rendered on October 3, 2016, to the following patients and in the

following amounts:

Patient Name Amount Billed to
— Medicare
MT $175
CM $275.02
DT $260.02
CG $355.02.

A copy of FPIM’s Patient Progress Notes and summaries of claims submitted to Medicare for
services rendered by Dr. Halickman to patients MT, CM, DT, and CG on October 3, 2016,
are attached as Composite Exhibit G.

43.  FPIM submitted claims to Medicare under Dr. Halickman’s PTAN for
services supposedly rendered by Dr. Halickman on at least fifty (50) days when he was not in
the office.

44. _ FPIM also submitted claims to Medicare for office visits where the patient did
not have a valid chief complaint. For instance, Dr. Halickman saw patient RA for her annual
wellness visit on April 10, 2018, and FPIM billed Medicare for that visit. Two weeks later,
on April 26, 2018, Dr. Halickman saw patient RA for a “follow-up” wellness visit. FPIM
billed Medicare for the “follow-up” wellness visit as a separate encounter, even though the
patient did not present with a valid chief complaint. A copy of RA’s Patient Progress Notes
documenting RA’s encounter with Dr. Halickman without a valid chief complaint is attached

hereto as Exhibit H.

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45. Each claim FPIM submitted to Medicare for reimbursement also included an
agreement by the treating healthcare provider that if he or she “knowingly file[s] a statement
of claim containing any misrepresentation or any false, incomplete or misleading information
{he or she] may be guilty of a criminal act punishable under law and may be subject to civil
penalties.”

46. Dr. Halickman presented or caused to be presented false claims to Medicare
for payment or approval by submitting claims for patient encounters with Physician
Assistants or Nurse Practitioners under Dr. Halickman’s national provider number, and by
submitting claims for services Dr. Halickman supposedly rendered on days when Dr.
Halickman was not in the office.

47. Dr. Halickman knowingly and willfully made or caused to be made a false
statement or representation of a material fact in the application for payment to Medicare by
submitting claims under his national provider number for patient encounters with Physician
Assistants or Nurse Practitioners, and by submitting claims for services Dr. Halickman
supposedly rendered on days when Dr. Halickman was not in the office treating patients.

48. In addition to the improper billings under Dr. Halickman’s provider number,
FPIM was not entitled to any reimbursement from Medicare for its nurse practitioners and
physician assistants before those providers received their respective PTANs.

49. Dr. Halickman submitted or caused to be submitted, with the apparent intent
to defraud, injure, or deceive, false, incomplete, and/or misleading claims to Medicare by
submitting claims under Dr. Halickman’s national provider number for patient encounters
with Physician Assistants or Nurse Practitioners, and by submitting claims for services that

Dr. Halickman never rendered.

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50. Dr. Halickman presented, or caused to be presented, false claims with actual
knowledge of their falsity, or in deliberate ignorance or reckless disregard that such claims
were false and fraudulent.

51. The United States was damaged by Dr. Halickman’s actions in submitting, or
causing to be submitted, false claims, statements, and records, in that the United States paid
Dr. Halickman millions of dollars for items and services for which Dr. Halickman was not
entitled to reimbursement.

FIRST CAUSE OF ACTION
False Claims Act: Presentation of False Claims
31 U.S.C. § 3729(a)(1)(A)

52. Relator repeats and realleges paragraphs 1 through 51 as if fully set forth
herein.

53. Dr. Halickman knowingly presented, and caused to be presented, false or
fraudulent claims for payment or approval to the United States for services that were not
provided or provided by providers other than Dr. Halickman, but billed under his national
provider number.

54. Dr. Halickman knowingly presented, and caused to be presented, false or
fraudulent claims for payment or approval to the United States by submitting claims for
services that were not provided or provided by providers other than Dr. Halickman, but billed
under his national provider number, and were therefore not reimbursable by Medicare.

55. Dr. Halickman knowingly presented, and caused to be presented, false or
fraudulent cost reports claiming payment for services that were not provided or provided by

providers other than Dr. Halickman, but billed under his national provider number.

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56. By virtue of the false or fraudulent claims that Dr. Halickman made and/or
caused to be made, the United States suffered damages and is therefore entitled to treble
damages under the FCA, to be determined at trial, plus civil penalties of not less than $5,500
and up to $11,000 for each violation

SECOND CAUSE OF ACTION
False Claims Act: Presentation of False Statements

Material to False Claims
31 U.S.C. § 3729(a)(1)(B)

57. Relator repeats and realleges paragraphs 1 through 51 as if fully set forth
herein.

58. Dr. Halickman knowingly made, used or caused to be made or used false
records or statements material to false or fraudulent claims and to get such claims paid by the
United States with respect to services that were ineligible for reimbursement.

59. By virtue of the false records or statements material to false or fraudulent
claims that Dr. Halickman made and/or caused to be made, the United States suffered
damages and is therefore entitled to treble damages under the FCA, to be determined at trial,
plus civil penalties of not less than $5,500 and up to $11,000 for each violation.

THIRD CAUSE OF ACTION

False Claims Act: False Record Material to Obligation to Pay
31 U.S.C. § 3729(a)(1)(G)

60. Relator repeats and realleges paragraphs 1 through 51 as if fully set forth
herein.
61. Dr. Halickman made and used or caused to be made or used false records or

statements material to an obligation to pay or transmit money to the United States, or

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knowingly concealed, avoided, or decreased an obligation to pay or transmit money to the
United States.

62. Said false records or statement were made with actual knowledge of their
falsity, or with reckless disregard or deliberate ignorance of whether or not they were false.

63. By virtue of the false records or statements material to false or fraudulent
claims that Dr. Halickman made and/or caused to be made, the United States suffered
damages and is therefore entitled to treble damages under the FCA, to be determined at trial,
plus civil penalties of not less than $5,500 and up to $11,000 for each violation.

REQUEST FOR RELIEF

WHEREFORE, Relator, on behalf of the United States, demands that judgment be
entered in its favor and against Dr. Halickman for the maximum amount of damages and
such other relief as the Court may deem appropriate on each Count. This includes, with
respect to the Federal False Claims Act, three times the amount of damages to the Federal
Government plus civil penalties of no more than Eleven Thousand ($11,000.00) and no less
than Five Thousand Five Hundred Dollars ($5,500.00) for each false claim, and any other
recoveries or relief provided for under the Federal False Claims Act.

Further, Relator requests that it receive the maximum amount permitted by law of the
proceeds of this action or settlement of this action collected by the United States, plus
reasonable expenses necessarily incurred, and reasonable attorneys’ fees and costs. Relator
requests that its award be based upon the total value recovered, both tangible and intangible,
including any amounts received from individuals or entities not parties to this action.

DEMAND FOR JURY TRIAL

A jury trial is demanded in this case.

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Dated: April 15, 2020

Respectfully submitted,

/s/ Erik R. Matheney

Erik R. Matheney

Florida Bar No. 005411

Ella A. Shenhav

Florida Bar No. 081996

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing was served on
April 15, 2020 via First Class Mail on United States Department of Justice, Civil Division,
950 Pennsylvania Avenue, N.W., Washington, DC 20530 and Ariana Fajardo Orshan, Esq.,
United States Attorney, US. Attorney’s Office, 99 NE 4th St

Miami, FL 33132-2131.

/s/ Erik R. Matheney
Erik R. Matheney

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EXHIBIT A
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January March Sept Nov Dec Totals
Harvard Pilgrim $ 610.00
‘Oxford Health $ $ 120.00 | $ 800.01 | $ 455.00 | $ 175.00 $90.03 j $ $ $25.02 | $ $25.07 | $ 4,370.17
Golden Rule ins | $ $ 380.00 | $ $70.00 | $ $80.03 | $ 435.00 | $ 710.03 230.03 | $ $ 460.02 | $ 5,535.23 |"
Time ins/er § $ 670.02 $ $ 995.01
[Aetna Uife $ $ $ 3,805.12 | $ 11,115.16 |$ —3,628.37/$ 7,000.21] $ _5,587.221$ 6,705.40] $ $ 9,910.49|$  8,847.77| $ 77,710.88 |
Hi $ $ S$ 8,335.141$ 7,008.57 | $ 6,035.14 | $ $5,125.33 |$ 5,055.17/$ 9,607.99 | $ 3,960.37 | $ $ 6,960.76/$ 6,256.10 | $ 73,250.40
Cigna $ $ $5,015.11 | $ 5,640.04 | $ 5,865.15 [$ 7,120.11 1$ _6,560.201$ 1,460.04 $ $ $ _ 7,635.15|$ 8,770.40 | $ 73,320.21
Freedom Life $ $ 260.00 |$ 6,050.19 $ 135.00 | $ 175.00 | $ 6,970.21
Amer Bus $ 350.00 175.00 550.02 $ 1,195.02
Ameri Adm $ $ 175.00 § 120.00 120.00 $ 720,00
Unicare Life $ $ 230.02
United Health $ $19,543.88 20,360.44 | $ 22,440.42 16,939.45 12,525.52 18,280.64 | $ 20,246.55 $17,456.68 23,392.73 | $ 221,133.15
Travelers $ 120.00 , $ 220.00
B/C B/S $13,475.51 $ 22,390.38 15,008.51 | $ 26,945.28 18,810.28 22,825.48 30,227.38 | $ 23,550.93 | $ $ 26,642.13 |$ 24,684.62 | $ 266,005.28 |-
Medicare $ 88,106.72 $ 145,504.38, 91,879.54 | § 104,234.44 65,095.67 69,280.87 97,013.06 | $ 107,882.85 | $ $ 110,020.39 | $ 175,494.20] $ — 1,238,388.42
Travelers $ 120.00 $ 175.00 | $ 565.00
Group Heatth/med 120.00 | $ 175.00 225.00 $ $20.00
Comm Health/n amer $ 175.00 290.00 § 470.03 | $ 1,430.03
Unicare Life $ 810.00 175.00 120.00 $ $ 1,525.00
Neighbor Health 350.00 $ 350.00
Coventry $ $ 240.00
Meritain 175.00 200.00 $ 747.02
Mondial AsstMedM $ $ 250.02 $ 600.02
Amer Busfree $ $ 120.00 $ 485.00
Avmed $ $ 175.00 460.04 270.02 $ 1,780.06
Comm Health $ $ 120.00 $ 240.00
RR $ $ $ 705.03
Oxford Health 550.02 $ $50.02
Golden Rule $ :
Neighborhood $ $80.02 $ 600.00 | $ 290.00 $ 405.02 $ 3,090.08
New Era $ 390.00 | $ 350.00 $ 915.00
Medishare $ __245.00 205.00 $ 450.00
Allied 180.00 120.00 | $ 300.00

. . ; $_. .
$134,448.52 $ 202,043.91 144,862.22 179,590.63 |$ 119,244.21 | $ 126,917.53 | $ 170,716.62 | $ 173,001.42 $ 180,490.68 | $ 247,370.94 |$  1,984,596.26

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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EXHIBIT B
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EUG CWE NET e Alm Ola ie Ah'Z-1I

Date Range: Jan 1, 2016 - Dec 31, 2016
Transaction Type: Unassociated Changes By: Service Date

       

 

   
     
      

Cole eta ae Ceol ceed eet eile ATL AGU 6 CMS ALTA CS ar acaas LL ie eM eter else a COT] etc Ohi C8 Ls a t]|Ccze
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EXHIBIT C
Case 9:20-cv-80645-DMM Document 1 Entered on FLSD Docket 04/16/2020 Page 22 of 95

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Date Range: jan 1, 2016 - Dec 31, 2016

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Date Range: Jan 1, 2017 - Dec 31, 2017

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Date Range: Jan 1, 2018 - Dec 31, 2018

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EXHIBIT D
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Case 9:20-cv-80645-DMM Document 1 Entered on FLSD Docket 04/16/2020 Page 31 of 95

 

Electronically signed by Catherine Dubois on 08/13/2018 at 12:13
PM EDT

Sign off status: Completed

 

Family Practice & Internal Medicine
3401 PGA Blvd
Palm Beach Gardens, FL 334102825
Tel: 561-776-8890
Fax: 561-766-2159

 

 

ee Progress Note: Jack Halickman, M.D. 08/13/2018

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Case 9:20-cv-80645-DMM Document 1 Entered on FLSD Docket 04/16/2020 Page 34 of 95

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Fax: 561-766-2159

 

 

Progress Note: Jack Halickman, M.D. 08/13/2018

  

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Case 9:20-cv-80645-DMM Document 1 Entered on FLSD Docket 04/16/2020 Page 39 of 95

 

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Family Practice & Internal Medicine
3401 PGA Blvd
Palm Beach Gardens, FL 334102825
Tel: 561-776-8890
Fax: §61-766-2159

 

 

 

 
 

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Case 9:20-cv-80645-DMM Document 1 Entered on FLSD Docket 04/16/2020 Page 44 of 95

 

Electronically signed by Catherine Dubois on 08/13/2018 at 02:13
PM EDT

Sign off status: Completed

 

Family Practice & Internal Medicine
3401 PGA Blvd
Palm Beach Gardens, FL 334102825
Tel: 561-776-8890
Fax: 561-766-2159

 

 

 

 
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Case 9:20-cv-80645-DMM Document 1 Entered on FLSD Docket 04/16/2020 Page 53 of 95

 

 

 
Case 9:20-cv-80645-DMM Document 1 Entered on FLSD Docket 04/16/2020 Page 54 of 95

EXHIBIT E
Case 9:20-cv-80645-DMM Document 1 Entered on FLSD Docket 04/16/2020 Page 55 of 95

 

 

 

CPT Payment

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Payment Posting at Line Item Level

Claim No: 117704 aa

Patient Name: Cam

    

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ERA Message Codes
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Case 9:20-cv-80645-DMM Document 1 Entered on FLSD Docket 04/16/2020 Page 56 of 95

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CPT Payment
Payment Posting at Line Item Level
Claim No: 117787
Patient Name: I

 

 

Pmt Id: £18710 , Dt:08/27/2018 , MEDICARE, Msg Code: CLP@2:19|CLP06;MB

  

  
 
  
 

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Inpatient/Outpatient Adjudication:

 

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Page 59 of 95

 

CPT Payment

Payment Posting at Line Item Level

Claim No: 117736

Pmt Id: 118710 , Dt:08/27/2018 , MEDICARE, Msg Code: CLP02:1[CLP06:MB

Tnpatient/Outpatient Adjudication: MOA:MA0{[|MOA:N793

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Charge exceeds fee schedule/maximum allowable or contracted/legislated fee arrangement. Usage: This adjustment amount cannot equal the

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Case 9:20-cv-80645-DMM Document 1 Entered on FLSD Docket 04/16/2020 Page 61 of 95

 

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Payment Posting at Line Item Level
Claim No: 117714 a
Patient Name: § |

 

Pint Id: 118710 , Dt:08/27/2018 , MEDICARE, Msg Code: CLP02:1/CLP06:MB
Enpatient/Outpatient Adjudication: MOA:MA0!1|MOA:N793

 

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Case 9:20-cv-80645-DMM Document 1 Entered on FLSD Docket 04/16/2020 Page 63 of 95

 

CPT Payment

 

Payment Posting at Line Item Level

Claim No: 417716
Patient Name: MS LD

 

 

 

 

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CPT Payment
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Payment Posting at Line Item Level
Claim No: 17717
Patient Name:
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Inpatient/Outpatient Adjudication; MOA:MA0I|MOA:MA18|MOA:N793
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Pmt Id: 119091 , Dt:09/14/2018 , United American Insurance Company, Msg Code:
Inpatient/Outpatient Adjudication:
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Case 9:20-cv-80645-DMM Document 1 Entered on FLSD Docket 04/16/2020 Page 67 of 95

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Provider: Jack Halickman, M.D.

Electronically signed by M.D. Jack Halickman , M.D. on 10/23/2019 at 12:04 PM EDT
Sign off status: Pending

 
               

   

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Case 9:20-cv-80645-DMM Document 1 Entered on FLSD Docket 04/16/2020 Page 74 of 95

 

 

 

 

CPT Payment
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Payment Posting at Line Item Level
Claim No: 99335 —
Patient Name: ;
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c p21 @ 110 Essential hypertension 1 | 3 Lab URINALYSIS, CO... | |
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Case 9
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CPT Payment

Payment Posting at Line Item Level

 

Claim No: 99330

Patient Name: ME 7a ~~

Pmt Id: 103613 , Dt:10/24/2016 , MEDICARE, Msg Code: CLP02:1(|CLP06:MB
Inpatient/Outpatient Adjudication: MOA:MAO1

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10/03/2016 lt 1.00 G8476 0.0 0. 0

 

ERA Message Codes
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CAS:246 | This non-payable code is for required reporting only.

 

 

Charge exceeds fee schedule/maximum allowable or contracted/legislated fee arrangement. Usage: This adjustment amount cannot equal the

CAS:45 — fnot duplicate provider adjustment amounts (payments and contractual reductions) that have resulted from prior payer(s) adjudication. (Use or
liability)

CLP06:MB] Medicare part B

CAS:253 _| Sequestration - reduction in federal payment

CLPQ2:1 | Processed as Primary

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 9:20-cv-80645-DMM Document 1 Entered on FLSD Docket 04/16/2020 Page 82 of 95

 

rovider: Jack Halickman, M.D.

Electronically signed by M.D. Jack Halickman , M.D. on 10/23/2019 at 11:56 AM EDT
Sign off status: Pending
   
              

 

 

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CPT Payment
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Payment Posting at Line Item Level
Claim No: ~—
Patient Name: i oj
Patient DOB: 10/19/1925 =
AccountNO: 25666 .
Pmt Id: 103613 , Dt:10/24/2016 , MEDICARE, Msg Code: CLP02:19|CLP06:MB
Inpatient/Outpatient Adjudication: MOA:MA01/MOA:MA18 its
Service Dt POS |} Units Code Billed Allowed | Deduct | Coins
10/03/2016 11 1.00 99214 175 112.2 0: 22.
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Pint Id: 104446 , Dt:12/05/2016 , Tricare Standard, Msg Code: 2.

Inpatient/Outpatient Adjudication:

 

 

 

 

 

 

 

 

 

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CPT Payment
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Payment Posting at Line Item Level
Claim No: 99343 ~—
Patient Name: cH |

   

 

Pint Id: 103616 , Dt:10/24/2016, MEDICARE, Msg Code: CLP02:1|\CLP06:MB
Inpatient/Outpatient Adjudication: MOA:MAO0I

 

Service Dt POS | Units Code Billed Allowed Deduct | Colns i WithHeld
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10/03/2016 ll 1.00 Q2037 40. 0
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ERA Message Codes
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CAS:246 _| This non-payable code is for required reporting only.

Charge exceeds fee schedule/maximum allowable or contracted/legislated fee arrangement. Usage: This adjustment amount cannot equal the
CAS:45 not duplicate provider adjustment amounts (payments and contractual reductions) that have resulted from prior payer(s)} adjudication. (Use o1
liability)

CLP06:MB} Medicare part B

CAS:253 | Sequestration - reduction in federal payment

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Electronically signed by M.D. JACK HALICKMAN , M.D. on
04/26/2018 at 02:53 PM EDT

 

Sign off status: Completed

Family Practice & Internal Medicine
3401 PGA Blvd
Palm Beach Gardens, FL 334102825
Tel: 561-776-8890
Fax: 561-766-2159

ee Progress Note: Jack Halickman, M.D. 04/26/2018

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Case 9:20-cv-80645-DMM Document 1 Entered on FLSD Docket 04/16/2020 Page 94 of 95

ERIK R. MATHENEY

PARTNER

Shutts & Bowen LLP

4301 W. Boy Scout Boulevard
Suite 300

Tampa, Florida 33607

DIRECT (813) 227-8123

FAX (813) 227-8223

EMAIL EMatheney@shutts.com

 

April 15, 2020

VIA FEDERAL EXPRESS

Clerk of the Court - FILED UNDER SEAL

Paul G. Rogers Federal Building and U.S. Courthouse
701 Clematis Street, Room 202

West Palm Beach, FL 33401

Re: United States of America, ex rel., CLJ, LLC v. Jack Halickman, MD
Dear Clerk:
Enclosed please find the following:

Civil Cover Sheet;

Realtor’s Complaint Pursuant To The Federal False Claims Act, 13 U.S.C. §§ 3729 ET.
SEQ. with Exhibits;

Motion to Seal;

Sealing Order on Motion to Seal;

Duplicate copies with pre-addressed, stamped, return envelope; and

Check in the amount of $400.00 for the filing fee.

Noe

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Should the Court require anything further to process the enclosed pleadings, please contact my
office directly at 813-229-8900.

Respectfully,

Shutts & Bowen LLP

UE ME

Erik R. Matheney

shutts.com | FORT LAUDERDALE | JACKSONVILLE | MIAMI | ORLANDO | SARASOTA | TALLAHASSEE | TAMPA | WEST PALM BEACH
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SUITE 300
TAMPA, FL 33607 BILL SENDER
UNITED STATES US

to CLERK OF COURT - FILE UNDER SEAL
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701 CLEMATIS ST RM 202

  

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